Case:17-03283-LTS Doc#:12998-11 Filed:04/30/20 Entered:04/30/20 11:40:24   Desc:
               Exhibit 35 -GASB Concept Statement No. 1 Page 1 of 4




                           EXHIBIT 35
Case:17-03283-LTS Doc#:12998-11 Filed:04/30/20 Entered:04/30/20 11:40:24      Desc:
               Exhibit 35 -GASB Concept Statement No. 1 Page 2 of 4




              ~ MAY 1987
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                          Governmental
            Accounting Standards Series



                           Concepts Statement No. 1 of the
                                Governmental Accounting
                                         Standards Board



                                                     Objectives of
                                               Financial Reporting




               Governmental Accounting Standards Board
                                     of the Financial Accounting Foundation
Case:17-03283-LTS Doc#:12998-11 Filed:04/30/20 Entered:04/30/20 11:40:24                      Desc:
               Exhibit 35 -GASB Concept Statement No. 1 Page 3 of 4



    Budgets and Fund Accounting

    50. The use of legally adopted budgets and fund accounting is less common for
    business-type activities than for governmental-type activities. Unless the business-type
    activity is operated as a governmental department, the review and adoption process and
    legal status of the budget may be different. For many business-type activities the budget
    represents essentially an internal management process, lacking the force of law. Similarly,
    because business-type organizations often perform a single function, fund accounting is
    not as common as it is in governmental-type activities. However, it is sometimes used as
    a result of bond agreements to provide controls for the protection of bondholders.

    Users and Uses of Financial Reports

    51. In general, the users and uses of governmental financial reports are essentially the
    same regardless of whether the activity is business-type or governmental-type. Some
    users’ needs are better satisfied by separate reports of the business-type activity; others’
    needs can only be satisfied by using the reports of the broader general government.

    52. Although this Statement does not consider executive branch personnel of general
    purpose governments to be primary users of external financial reports of governmental-
    type activities, those personnel often become more like external users when governmental
    business-type activities are organized separately from the governments that oversee them.
    When business-type activities are subsidized by direct appropriations from general
    government, day-to-day relationships between executive branch personnel and the
    business-type activity are often similar to that of other departments. But as the financial
    relationships become more remote, external financial reporting becomes increasingly
    important to the executive branch in monitoring the activities and the management of
    business-type activities.

    53. The uses of financial reports of business-type activities generally differ only in
    emphasis from the uses of financial reports of governmental-type activities. Users of
    separate financial reports of business-type activities are concerned primarily with the
    financial condition and results of operations for that activity; they are often not concerned
    with comparing actual results with budgeted amounts. Investors and creditors are
    concerned primarily with whether the business-type activity is generating, and will
    continue to generate, sufficient cash to meet debt service requirements. Citizen groups
    and consumers use results of operations information primarily to assess the reasonableness
    of user charges. Legislative and oversight officials and executive branch officials review


                                                 16
Case:17-03283-LTS Doc#:12998-11 Filed:04/30/20 Entered:04/30/20 11:40:24                       Desc:
               Exhibit 35 -GASB Concept Statement No. 1 Page 4 of 4



    financial reports of business-type activities from both perspectives. Depending on their
    legal relationships with the business-type activity, legislative and oversight officials also
    use financial reports to assess the potential need to subsidize the activity with general
    governmental revenues, or whether the general government may obtain access in some
    manner to the net cash flows generated by the activity. They may also want to compare
    actual results with budgets they have approved.

    54. Investors and creditors are just as concerned with compliance with bond provisions
    by business-type activities as they are for governmental-type activities. Citizens’ groups
    and legislative and oversight officials need information about effectiveness, economy, and
    efficiency, particularly because that information has an effect on user charges.

    55. Users of a broader general government’s financial report are generally concerned
    with the relationship between the financial position and operating results of the business-
    type activity and that of the general government as a whole. Those users need to
    determine to what extent the business-type activity depends on the general government’s
    financial support or to what extent the general government has access to that activity’s
    resources.

    ACCOUNTABILITY AND INTERPERIOD EQUITY

    Accountability

    56.   Accountability is the cornerstone of all financial reporting in government, and the
    term accountability is used throughout this Statement. The dictionary defines accountable
    as “being obliged to explain one’s actions, to justify what one does.” Accountability
    requires governments to answer to the citizenry—to justify the raising of public resources
    and the purposes for which they are used. Governmental accountability is based on the
    belief that the citizenry has a “right to know,” a right to receive openly declared facts that
    may lead to public debate by the citizens and their elected representatives. Financial
    reporting plays a major role in fulfilling government’s duty to be publicly accountable in a
    democratic society.

    57. The Board is aware that applying the broad concept of public accountability to
    financial reporting by state and local governments creates the potential to extend reporting
    beyond current practice. If being accountable means being obliged to explain one’s
    actions, what are the limits of disclosure? How does one balance the cost of providing
    information against the value of the public’s “right to know”? The need to be accountable


                                                 17
